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   8                         UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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        BACKGRID USA, INC.                        Case No.
   12                                             2:21−cv−06543−MEMF−SK
                        Plaintiff(s),
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                                                  REASSIGNMENT ORDER
   14        v.                                   (GENERAL ORDER 21-1 − SECTION II.B)

   15 HAUTE LIVING INC., et al.
   16                  Defendant(s).

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   20       IT IS ORDERED that this case is reassigned to the Honorable Maame

   21    Ewusi-Mensah Frimpong for all further proceedings. The Court further orders

   22    as follows:

   23       1.    All future filings shall bear the initials MEMF immediately after the case

   24             number.

   25       2.    All subsequent hearings shall be held in Courtroom 8B on the 8th Floor of

   26             the United States Courthouse, 350 West 1st Street, Los Angeles, California.

   27       3.    All matters previously referred to a magistrate judge shall remain before
   28             that magistrate judge.

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   1       4.   Cases previously referred to an ADR process, whether at filing, by order

   2            of the previously assigned judge, or by stipulation and order, shall proceed

   3            under the terms of the applicable ADR local rule. Dates for previously

   4            scheduled ADR telephone conferences shall remain in effect.

   5       5.   All discovery cutoff dates and other deadlines associated with this case,

   6            such as disclosure and expert deadlines, shall remain in effect.

   7       6.   All case management conference dates are vacated and will be reset by the

   8            Court.

   9       7.   Except for matters noticed for hearing before a magistrate judge, all law

   10           and motion hearing dates are vacated and must be re-noticed by the moving

   11           party.

   12      8.   All pretrial conferences and trial dates currently set for dates earlier than

   13           January 1, 2023, are vacated.

   14      9.   All pretrial conferences and trial dates currently set for January 1, 2023, or

   15           after, as well as other deadlines associated with the case, shall remain

   16           in effect.

   17      10. Each party is expected to review and become familiar with any and all

   18           applicable standing orders. In addition to the foregoing, the parties are

   19           hereby ordered to file a joint case management statement within 15 days

   20           of the date of this Order. Separate statements are appropriate if any

   21           party is proceeding without counsel. The statement should not exceed

   22           ten pages in length, should not contain attachments, and should address

   23           the following items in the following order:

   24                a.       The date the case was filed;

   25                b.       A list or description of each party;

   26                c.       A summary of all claims, counter-claims, cross-claims, or

   27                        third party claims;

   28                d.       A brief description of the events underlying the action;


                               REASSIGNMENT ORDER − PAGE 2
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   1                e.      A description of the relief sought and the damages claimed

   2                        with an explanation as to how damages have been (or will be)

   3                        computed;

   4                f.      The status of discovery, including any significant discovery

   5                        management issues, as well as any limits or cutoff dates;

   6                g.      A procedural history of the case, including any previous

   7                        motions that were decided or submitted, any ADR proceedings

   8                        or settlement conferences that have been scheduled or

   9                        concluded, any appellate proceedings that are pending or

   10                       concluded, and any previous referral to a magistrate judge;

   11               h.      A description of any other deadlines in place before

   12                       reassignment, including those for dispositive motions, pretrial

   13                       conferences, and trials;

   14               i.      Any requested modification of these dates, and the reasons

   15                       for the request;

   16               j.      Whether the parties will consent to a magistrate judge for trial;

   17               k.      Whether there exists an immediate need for a case

   18                       management conference to be scheduled in the action, and why

   19                       the parties believe such a need exists; and

   20               l.      A plain and specific statement of any immediate relief sought,

   21                       if applicable, regarding the case schedule.

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        Dated: February 14, 2022                 By:
   26                                                  MAAME EWUSI-MENSAH FRIMPONG
                                                       United States District Court Judge
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                             REASSIGNMENT ORDER − PAGE 3
